                                           Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 1 of 42
                                             In re FibroGen, Inc. Securities Litigation, No. 3:21-cv-02623-EMC (N.D. Cal)
                                                                               APPENDIX
                                                                      Summary of Alleged Misstatements

    Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                                 Statement Category2                  Reason Not Actionable
    #(s)               Occasion
            ¶¶’s                                                                                                                                          (Falsity)3

    1       142-   Speaker(s):            1. Yu: “We are excited to have achieved superiority                     Efficacy Statement            Falsity Not Pled with
            144                           in efficacy not only against placebo but also over                                                      Particularity
                   FibroGen, Neff         epoetin alfa in our studies… [t]hese results support
                   (CEO),Yu               [R]oxadustat’s potential to bring clinical benefit over                                                Opinion Statement
                   (CMO)                  current standard of care, such as reducing blood                                                       Forward-Looking Statement
                   Date:                  transfusion risk in patients on dialysis and those not on                                               (“potential”)4
                                          dialysis, and to improve patient access to anemia
                   December20,            therapy with a new convenient oral therapeutic.”                                                        o Identified As Forward-
                   2018                                                                                                                              Looking (Ex. E at 6) &
                                                                                                                                                     Adequate Cautionary
                   Occasion:                                                                                                                         Language (Ex. A at 85, 103-
                   FibroGen Press                                                                                                                    04)
                   Release                                                                                                                        o No Allegations of Actual
                   announcing                                                                                                                        Knowledge of Falsity
                   “Positive Topline
                   Results from           2. Neff: “This is the first well-controlled CKD 
    2
                   Three Global                                                                                    Efficacy Statement            Falsity Not Pled with
                                          anemia program that has shown improved efficacy in                                                      Particularity
                   Phase 3 Trials of      incident and stable dialysis patients relative to ESA
                   Roxadustat”            standard ofcare therapy.                                                                               Opinion Statement
                   (Exhibit E)            Each of the three studies had a pre-specified primary
                                          efficacy endpoint for meeting U.S. regulatory
                                          requirements and another pre-specified primary

1
  To provide the Court with the context surrounding the challenged statements, Defendants have taken the Appendix attached to Plaintiffs’ Consolidated Class Action Complaint and added
relevant text before and/or after each challenged statement. Plaintiffs’ Appendix included both emphasized and non-emphasized portions and it is not clear which portions they are
challenging. In Defendants’ Appendix, the underlined portion of each statement indicates the language found in Plaintiffs’ Appendix and the bolding appears as it does in Plaintiffs’
Appendix. The non-emphasized text has been added by Defendants for context.
2
  For ease of reference, Defendants have identified statement categories, which track the categories identified in Defendants’ Motion to Dismiss. The “Black Box” statements are discussed
in Defendants’ Motion to Dismiss, Part IV.A.1, the “Non-Inferiority Margin” statements are discussed in Part IV.A.2, the “Efficacy” Statements are discussed in Part IV.A.3, the “Safety
Analysis” statements are discussed in IV.A.4. A number of these statements are also inactionable opinion, corporate optimism, or forward-looking statements discussed in Part IV.A.5 and
IV.A.6. The “Miscellaneous” statements are not directly categorized in Defendants’ Motion to Dismiss but are also inactionable for the reasons identified in the Column labeled “Reason
Not Actionable,” which tracks the arguments made in Defendants’ Motion to Dismiss.
3
  All of the challenged statements are also not actionable as Plaintiffs fail to plead facts raising a strong inference of scienter as to any Defendant.
4
  Many of the challenged statements are mixed statements, both containing historical facts and forward-looking language or opinion, or corporate optimism. All arguments applicable to all
portions of the lengthy statements that Plaintiffs challenge are addressed.
                                                                                           1
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 2 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                  Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
                                 efficacy endpoint for meeting EU regulatory
                                 requirements, which also served as a secondary
                                 efficacy endpoint for the U.S. Both the U.S. and EU
                                 primary efficacy endpoints were met in all three studies
                                 . . . a U.S. primary efficacy endpoint: . . . mean Hb
                                 [hemoglobin] change from baseline.”

3                                3. Press Release: “[I]n the pre-specified secondary         Efficacy Statement      Falsity Not Pled with
                                 efficacy analysis, Roxadustat-treated patients had a                                  Particularity
                                 33% reduction in the risk of blood transfusion
                                 compared to epoetin alfa (HR=0.67) in the time to first
                                 blood transfusion during treatment, p=0.0337.”

4                                4. Press Release: “The preliminary safety analyses          Safety Analysis         Opinion Statement
                                 of each of these three individual studies show an            Statement
                                 overall safety profile consistent with the results                                   Falsity Not Pled with
                                 observed in prior Roxadustat studies. The adverse                                     Particularity
                                 events reported are consistent with those expected in
                                 these study populations with similar background
                                 diseases.
                                 ...
                                 Results of the pooled safety analyses, including the
                                 major adverse cardiovascular events (MACE) for both
                                 NDD-CKD and DD-CKD in the global Phase 3
                                 program is anticipated prior to U.S. NDA submission
                                 in the first half of 2019.”

5       145-   Speaker(s):       5. Neff: “In these 5 U.S. ROW studies, we enrolled a        Efficacy Statement      Falsity Not Pled with
                                 total of 7,721 patients composed of 3,917 in dialysis                                 Particularity
        146    FibroGen, Neff    and 3,804 in non-dialysis. All of these studies have        Miscellaneous
               (CEO),Yu          positive top line results. We and our partners believe       Statement               Forward-Looking Statement
               (CMO)             the results from these trials to support our NDA [to the                              (NDA prospects)
               Date:             FDA] as well as our marketing authorization                                           o Identified As Forward-
                                 application, or MAA, to the European Medicines                                           Looking (Ex. G at 4) &
               February27,       Authority, or EMA. The fully adjudicated MACE                                            Adequate Cautionary
               2019              results, including completing adjudication procedures                                    Language (Ex. H at 62, 82)
               Occasion:         to enable consistent safety assessment without bias, are
                                 to be included in our planned NDA to the FDA.                                         o No Allegations of Actual
               4Q and FY2018     Completion of the full adjudication procedures is on                                     Knowledge of Falsity
                                 track for the second quarter of 2019.                                                Opinion Statement

                                                                           2
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 3 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2           Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
               Earnings Call     …
               (Exhibit G)       At this point, based on our review of the data to date
                                 and our discussions with counterpart teams at AZ and
                                 Astellas and discussions with our partners' leadership
                                 there is a strong conviction to move ahead to file the
                                 NDA and MAA this year.”

6                                6. Yu: “First of all, these Phase III studies              Efficacy Statement      Forward-Looking Statement
                                 demonstrated roxadustat's efficacy. We met the                                       (“could be of great significance”)
                                 primary efficacy end point in each of the 3 CKD non-
                                 dialysis studies, ANDES by FibroGen, OLYMPUS by                                      o Identified As Forward-
                                 AstraZeneca and ALPS by Astellas, by demonstrating                                       Looking (Ex. G at 4) &
                                 superiority of roxadustat compared to placebo in the                                     Adequate Cautionary
                                 change in hemoglobin level from baseline, the                                            Language (Ex. H at 62, 66,
                                 hemoglobin averaged over weeks 28 to 52. In the Phase                                    82)
                                 III dialysis studies, noninferiority criteria were met in                            o No Allegations of Actual
                                 primary end point comparing hemoglobin change in                                         Knowledge of Falsity
                                 roxadustat-treated patients with those on EPO alfa,
                                 which is the current standard of care in dialysis and in                            Falsity Not Pled with
                                 CKD patients. And furthermore, superiority [to                                       Particularity
                                 Epogen] was demonstrated in all 3 dialysis studies…                                 Opinion Statement
                                 ...                                                                                 Statement of Corporate
                                 Also, much clinical importance, roxadustat-treated                                   Optimism
                                 patients had significant reduction in red blood cell
                                 transfusion risk, which was measured by time to first
                                 transfusion when compared to placebo in CKD non-
                                 dialysis studies. Moreover, in active control trial in
                                 SIERRAS study, our U.S. dialysis conversion study in
                                 which patients were randomized to receive Roxadustat
                                 or to continue stable maintenance dose of epoetin alfa,
                                 roxadustat was also shown to have a lower
                                 transfusion risk than ESA. Other than the usual
                                 risks…red blood cell transfusion is known to reduce
                                 CKD patients’ eligibility for kidney transplant
                                 …Kidney transplant is the preferred option for patients
                                 with end-stage kidney disease because of longer
                                 survival than chronic dialysis. This is why transfusion
                                 reduction is such a big deal and could be of great
                                 significance to CKD patients.”


                                                                         3
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 4 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                   Statement Category2           Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                     (Falsity)3

7                                7. Yu: “Turning to preliminary safety data. Results in         Efficacy Statement      Falsity Not Pled with
                                 individual studies are consistent with what one would                                    Particularity
                                 expect in the study patient population. The integrated         Safety Analysis
                                 full safety analyses are ongoing. The adjudicated               Statement               Opinion Statement
                                 MACE results are on track for the first the first half of                               Statement of Corporate
                                 2019. Encouraged by the robust efficacy results, the                                     Optimism
                                 preliminary safety data in individual Phase 3 studies
                                 and the ongoing pool efficacy and safety analyses, we
                                 are working diligently with our partners, AstraZeneca
                                 in the preparation of NDA submission in the U.S. and
                                 with Astellas in the preparation for the MAA in
                                 Europe.”
8       147-   Speaker(s):       8. Press Release: (i) “Based on the MACE safety data           Safety Analysis         Falsity Not Pled with
                                 analyses of [DD], we believe there is no clinically             Statement                Particularity
        152    FibroGen, Neff    meaningful difference in risk of MACE between
               (CEO),Yu          Roxadustat and epoetin alfa” and “Based on the MACE                                     Opinion Statement
               (CMO)             safety analyses of [NDD], we believe there is no
               Date:             clinically meaningful difference in risk of MACE
                                 between Roxadustat and placebo”; and
               May 9, 2019
                                 (ii) “Roxadustat demonstrated superiority to epoetin
               Occasion:         alfa in the time to first MACE+ in [incident dialysis
               Press Release     patients]. In the MACE analysis, there is a trend
                                 toward reduced [MACE] risk for patients on
               announcing
               “Positive         [R]oxadustat, compared to epoetin alfa.”
9              Topline Results
               From Pooled       9. Press Release: “Of note, multiple MACE and                  Non-Inferiority         Falsity Not Pled with
               Safety Analyses   MACE+ analyses in NDD-CKD from the roxadustat                   Margin Statement         Particularity
               ofRoxadustat      global Phase 3program are being performed in intent-
               Global Phase 3    to-treat (ITT) analyses that demonstrated comparability        Safety Analysis         Opinion Statement
                                 ofroxadustat to placebo. ITT is among the several               Statement
               Program” (the
               “May 2019 Press   statistical methods that we will discuss with the FDA.
               Release”)         In these analyses, Roxadustat was comparable based
                                 on a commonly applied non-inferiority margin of 1.3.”
               (Exhibit I)

10                               10. Yu: “We are particularly excited about the results         Safety Analysis         Falsity Not Pled with
                                 indicating a reduction of risk of MACE+ events in               Statement                Particularity
                                 incident dialysis patients and the additional potential
                                 clinical benefits of Roxadustat beyond anemia                                           Statement of Corporate

                                                                            4
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 5 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                 Statement Category2           Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                   (Falsity)3
                                 correction, to include attenuation of renal function                                   Optimism
                                 decline and improvement of quality of life in NDD-
                                 CKD patients.                                                                         Opinion Statement
                                  ...
                                 Further analyses of overall safety is ongoing and will
                                 inform on the overall benefit risk.”
11                               11. Neff: “We are very pleased with what we believe          Safety Analysis         Falsity Not Pled with
                                 are important positive results of MACE and MACE+              Statement                Particularity
                                 analyses in the dialysis-dependent, incident dialysis,
                                 and non-dialysis dependent CKD patients, supporting          Miscellaneous           Forward-Looking Statement
                                 the safety of Roxadustat in CKD patients . . . Combined       Statement                (NDA prospects)
                                 with the positive topline efficacy in hemoglobin (Hb)                                  o Identified As Forward-
                                 control in patients with or without concomitant                                           Looking (Ex. I at 5) &
                                 inflammation, reduction of transfusion, and the                                           Adequate Cautionary
                                 encouraging results from the pooled analyses of                                           Language (Ex. H at 62, 66,
                                 Quality of Life and estimated glomerular filtration rate                                  82)
                                 (eGFR) over time, these positive safety data give us
                                 confidence as we progress in preparation for the U.S                                   o No Allegations of Actual
                                 NDA and the Marketing Authorization Application                                           Knowledge of Falsity
                                 (MAA) for EMA.”                                                                       Opinion Statement
12                               12. Neff: “Combined with the positive topline                Efficacy Statement      Falsity Not Pled with
                                 efficacy in hemoglobin (Hb) control in patients with or                                Particularity
                                 without concomitant inflammation, reduction of
                                 transfusion, and the encouraging results from the                                     Opinion Statement
                                 pooled analyses of Quality of Life, and estimated
                                 glomerular filtration rate (eGFR) over time, these
                                 positive safety data give us confidence as we progress
                                 in preparation for the U.S NDA and the Marketing
                                 Authorization Application (MAA) for EMA.”

13                               13.     Yu: “We are particularly excited about the           Efficacy Statement      Falsity Not Pled with
                                 results indicating a reduction of risk of MACE+ events                                 Particularity
                                 in incident dialysis patients, and the additional potential
                                 clinical benefits of Roxadustat beyond anemia                                         Opinion Statement
                                 correction, to include attenuation of renal function                                  Statement of Corporate
                                 decline and improvement of quality of life in NDD-                                     Optimism
                                 CKD patients,” said K. Peony Yu, MD, Chief Medical
                                 Officer, FibroGen. As we accumulate a body of
                                 evidence of roxadustat efficacy and safety with these
                                                                              5
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 6 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1               Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                              (Falsity)3
                                 adjudicated pooled analyses, we look forward to begin
                                 discussions with U.S. FDA on NDA submission.
                                 ...
                                 In the pooled analyses from the three NDD studies, we
                                 observed statistically significant improvements from
                                 baseline to Week 12 in quality of life endpoints,
                                 including SF-36 Vitality subscale(p=0.0002), SF-36
                                 Physical Functioning subscale (p=0.0369), FACT-AN
                                 Anemia subscale(p=0.0012), FACT-AN Total score
                                 (p=0.0056), and EQ-5D-SL VAS score (p=0.0005)
                                 when comparing roxadustat to placebo in CKD patients
                                 not on dialysis.”
14      153-   Speaker(s):       Analyst Question: “Tom and Peony, can you be very          Safety Analysis      Falsity Not Pled with
                                 clear for us? I think there's some confusion around         Statement             Particularity
        161    FibroGen, Neff    whether you are statistically noninferior in dialysis and
               (CEO),Yu          nondialysis on the MACE analysis, which is what is                               Forward-Looking Statement
               (CMO)             required for FDA? Can you confirm that or discuss                                 (“trending favorably”)
               Date:             that? And if you can also give us the hazard ratios for                           o Identified As Forward-
                                 dialysis and nondialysis on MACE, that would be very                                  Looking (Ex. J at 4) &
               May 9, 2019       helpful. . .”                                                                         Adequate Cautionary
                                 14.     Neff: “Okay. So Michael, there's 2 parts to this                              Language (Ex. H at 62, 66,
               Occasion:Q1                                                                                             67, 82)
                                 answer. One is that in the European market, we are
               2019              doing MACE+, where we have a statistical                                          o No Allegations of Actual
               Earnings Call     noninferiority margin, a single margin identified, and                                Knowledge of Falsity
                                 we are noninferior in both measures. In the U.S., there
               (Exhibit J)       are multiple noninferiority margins that are under                               Opinion Statement
                                 discussion. These are reflecting the fact that was not                           Statement of Corporate
                                 incident dialysis and with the nondialysis-dependent                              Optimism
                                 CKD patients, we are essentially addressing new
                                 indications that have not been investigated previously.
                                 So that's incident dialysis and the CKD dialysis. In
                                 discussions with our partner, they are very mindful of
                                 the phrase totality of evidence. And so they encouraged
                                 the idea that we address this in the form of the
                                 evaluation of results versus MACE, where we did not
                                 see any clinically meaningful difference, means that
                                 [Roxadustat] met the safety standards that people
                                 were looking for and that’s why people are moving
                                 forward…Yes. I think the message there is we’re

                                                                         6
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 7 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1               Statement Category2           Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                 (Falsity)3
                                 trending favorably.” Id. at 12.
15                               Analyst Question “So just kind of digging deeper and       Safety Analysis         Falsity Not Pled with
                                 helping us kind of understand the totality of data.         Statement                Particularity
                                 Different components, death, MI, stroke. On top of that,
                                 unstable angina leading to a hospitalization, heart                                 Opinion Statement
                                 failure. Can you confirm that all of these measures are
                                 trending in the right direction? Or maybe there are some
                                 that's not. Maybe can you comment on that? . . .”
                                 15. Neff: “So with the MACE+ data, I believe we
                                 have numeric advantage in each category. So there's 5
                                 categories. . . . Every one of [the MACE+ categories],
                                 we have a numeric advantage over ESA… Fewer
                                 events in Roxa versus ESA in deaths. Fewer events in
                                 Roxa versus ESA in myocardial infarction. Fewer
                                 strokes in Roxa than ESA. Fewer unstable angina
                                 hospitalizations. Fewer congestive heart failures
                                 resulting in hospitalizations.” Id. at 16.
16                              Analyst Question: “Okay. And then a question on the         Efficacy Statement      Falsity Not Pled with
                                nondialysis MACE analyses. Did the event rate                                         Particularity
                                compare favorably to the comparator arm? And how --         Safety Analysis
                                in that analysis, how does it take into consideration the    Statement               Opinion Statement
                                differences in the dropout rate?”
                                16. Yu: “So we have -- because our drug is so
                                efficacious and so well tolerated, patients really like
                                staying on our drug. . . . And even we did see a high --
                                a somewhat higher dropout rate in placebo-treated
                                patients. However -- and to have some anticipation this
                                could happen, we have collected safety data on patients
                                during the post-treatment period. And that's why we are
                                able to conduct the ITT analysis. And this will be -- of
                                course, the final assessment in -- and the statistics will
                                be discussed with the FDA. And I just wanted to share
                                that in the nondialysis population, [ITT] is – will be
                                considered a relatively conservative analysis. And the
                                fact that we had -- we are able to show non-inferiority
                                to placebo under such conditions really illustrates the
                                strength of our drug’s safety. And I wanted to also
                                remind us that placebo is considered the gold standard

                                                                         7
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 8 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                (Falsity)3
                                 for safety.” Id. at 14.
17                              Analyst Question: “So to be very specific, in dialysis       Safety Analysis       Falsity Not Pled with
                                and nondialysis on MACE, are you trending the right           Statement              Particularity
                                way? Are you trending positive? What do you mean by
                                not clinically meaningful differences?”                      Non-Inferiority       Opinion Statement
                                                                                              Margin Statement
                                Neff: “Yes. I think the message there is we're trending
                                favorably. But at the same time, we have to yet agree
                                with our regulator on specific analyses to be done.
                                There are back and forth discussions.
                                17. Yu: “[M]ay I add to [that] question . . . [F]or us to
                                state that we are superior in time to MACE+ analysis
                                in incident dialysis, what I mean isthe upper bound of
                                the 95% confidence interval is less than
                                1. And… when you compare the hazard between
                                Roxadustat to that of epoetin alfa, we have a very
                                significant p value.” Id. at 13.
18                              Analyst: “Provide us reassurance that the number             Safety Analysis       Falsity Not Pled with
                                of…deaths, MIs, and STROKES in the stable dialysis            Statement              Particularity
                                patients who were switched to Roxadustat, still favors
                                Roxadustat. Because obviously, you don’t have the                                   Opinion Statement
                                same power or same apparent benefit in the pooled                                   Statement of Corporate
                                dialysis as you do in the incident.”                                                 Optimism
                                18. Yu: “[W]hen we look at subgroup analysis of the
                                – between incident dialysis versus the stable conversion
                                dialysis, we are quite comfortable with the safety
                                result when looking at MACE and MACE+… even
                                though I’m not giving you exact number of patients for
                                each category, right, but I am willing to share with you
                                that in the subgroup analysis, when we tested time to—
                                for example, MACE+ and MACE, Roxadustat was at
                                least non- inferior to epoetin alfa even in the
                                conversion stable dialysis patients. . . . we're at this --
                                we are still on the -- releasing the top line results. The
                                fine granular geographic subgroup analysis and more
                                detailed analysis are -- still needs to be conducted. But
                                we'll plan to -- between now and NDA submission, it
                                will be completed before then.” Id. at 19.


                                                                         8
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 9 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                (Falsity)3

19                              Analyst: “Maybe just a follow-up. I think that your          Non-Inferiority       Falsity Not Pled with
                                answer to the last question regarding the dialysis            Margin Statement       Particularity
                                population was pretty clear. But in terms of the
                                nondialysis comparison of roxa versus placebo, I guess,                             Opinion Statement
                                I'm still a little bit confused in terms of how the -- I
                                understand you didn't have a prespecified comparison.
                                You're looking at a number of different ways. But could
                                you maybe just walk through how those event rates
                                compare on MACE for roxa versus placebo across the
                                different analyses? Were there -- did they all line up?
                                Were they all favorable? Was there anything out of
                                line? And then when you look at the separate studies,
                                again, I remember back from the [ Amanta ] studies,
                                they had one trial that they showed fewer events and
                                one trial they actually had more events in the
                                nondialysis setting. So again, was there consistency
                                across the 3 studies that you pooled as well?”
                                19. Neff: “Yes. So Terence, we recognize that this is a
                                terribly difficult area to state in a succinct manner for a
                                call like this. Having said that in thinking about how to
                                describe the situation most effectively, we decided to
                                describe the ITT results. This is MACE, MACE+,
                                MACE CV, time to MACE+, time to MACE. So there’s
                                several different measures. And in each case, the result
                                of the analysis was at a ratio below 1.3, which is a
                                standard noninferiority comparison in ITT. And so
                                when I say below 1.3, I mean like 1.18 or 1.21 or 1.27
                                or 1.28. Not above 1.3, but below 1.3. And I know,
                                speaking as someone involved in this partnership for a
                                long time, that people in each of our partners’ executive
                                management group, great confidence and strength in
                                seeing these results because these are -- even though
                                these maybe aren’t the measures that will ultimately be
                                the ones that are evaluated, they are an ultimate safety
                                evaluation standard the FDA usually asks for whether
                                you pose it or not. So everybody felt like this is
                                something that's very descriptive and very informative.
                                I would hesitate to do anything else beyond talking
                                about the ITT results because we do not have a specific
                                agreement with FDA on method of analysis. And as
                                such, it’s a little presumptuous.” Id. at 16-17.
                                                                         9
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 10 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2            Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                   (Falsity)3

20                              Analyst: “Okay. Okay. Now for the indication in the          Non-Inferiority          Falsity Not Pled with
                                U.S., if we just think about DD and NDD for now, for          Margin Statement          Particularity
                                the MACE status, now we can forget about the MACE+
                                situation. Just for the MACE measurement, have you           Safety Analysis          Opinion Statement
                                reached a statistical noninferiority on -- against either     Statement
                                placebo or EPO?”
                                20. Yu: “so whether you would reach statistically
                                significant in noninferiority, it really depends on what
                                the noninferiority margin is. And in Europe, we are
                                more clear on the noninferiority margin, and we believe
                                that we have achieved that. And for -- now for the
                                incident dialysis, the nice thing about achieved
                                superiority is that no matter what the noninferiority
                                margin it is, once we can demonstrate superiority, we
                                have already crossed it. And we are using the
                                conventional standards of noninferiority, which is
                                widely published for assessment of CKD anemia and
                                have previously been used by [the FDA] for
                                assessment of cardiovascular safety in similar types of
                                composite endpoints …that standard has been 1.3 for
                                upper bound of 95% confidence interval. If we use
                                that standard, the answer is yes, we have achieved
                                non-inferiority.” Id. at 20.

21                              Analyst: “A couple of questions for me. First, based on      Non-Inferiority          Falsity Not Pled with
                                this MACE data, how do we think of the label language         Margin Statement          Particularity
                                if approved? Are we confident to avoid a black box?”
                                                                                             Safety Analysis          Forward-Looking Statement
                                21. Yu: “what FDA puts on the label is something that         Statement                 (NDA/label prospects)
                                they – that we may not have much control over, except
                                that we have developed that we’ll target a certain label.    Black Box Statement       o Identified As Forward-
                                And so we – FDA has advised that the evaluation of                                         Looking (Ex. J at 4) &
                                efficacy, primary efficacy, will be based on individual                                    Adequate Cautionary
                                studies, and we have checked that box. And the                                             Language (Ex. H at 62, 66,
                                evaluation of safety is FDA may – will look at various                                     67, 82)
                                aspects of safety. And based on what we have seen, we                                   o No Allegations of Actual
                                are pretty comfortable with safety. This adjudicated                                       Knowledge of Falsity
                                composite safety endpoint was something that we have
                                discussed with the FDA . . . But at the end, the                                       Opinion Statement
                                assessment is -really depends on the medical reviewer                                  Statement of Corporate
                                at the FDA. And there will -- if there were an Advisory                                 Optimism
                                                                         10
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 11 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2           Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
                                 Committee, then there would be input from the
                                 Advisory Committee if the FDA chooses to.” Id. at 22.

22      136-   Speaker(s):       22. 10-Q: “With the understanding that regulatory           Safety Analysis         Falsity Not Pled with
        138,                     authorities will need to review the data and conduct their   Statement                Particularity
               FibroGen, Neff    own analyses and evaluation of the overall benefit-risk
        162,   (CEO),Cotroneo    profile of roxadustat, our NDA submission package to                                 Opinion Statement
               (CFO)             the FDA will be based on the totality of evidence of
        149-
               Date:             efficacy and safety. We have had extensive discussions
        151                      with the FDA on the specific statistical standards for the
               May 9, 2019       various analyses and endpoints and we are planning to
                                 seek further input from the FDA on the content and
               Occasion:Q1       format of our planned NDA submission package in an
               2019              upcoming pre-NDA meeting to facilitate the FDA’s
                                 review of the package.
               Form 10-Q
                                 ...
               (Exhibit L)
                                 For the U.S., where the focus will be on MACE, based
                                 on the collective results of the various MACE analyses,
                                 we believe there is no clinically meaningful difference
                                 in MACE risks between roxadustat and epoetin alfa.
                                 ...
                                 In the MACE analysis of this same subgroup [incident
                                 dialysis], there was a trend toward reduced risk of
                                 MACE for patients on roxadustat, compared to
                                 epoetinalfa.”
                                 ...
                                 For the U.S., where the focus will be on MACE, based
                                 on the collective results of the various MACE analyses,
                                 webelieve there is no clinically meaningful difference
                                 in MACE safety between roxadustat and placebo in
                                 this same non-dialysis population.”

23      163-                     Analyst: “[W]hat were the results on top line and what
               Speaker(s):       we can expect in terms of a little more details as we       Safety Analysis         Falsity Not Pled with
        166    FibroGen, Neff    proceed in the future.”                                      Statement                Particularity
               (CEO),Yu          23. Yu: “So we’ve recently reported exciting positive       Efficacy Statement      Opinion Statement
               (CMO)             full adjudicated cardiovascular safety results from the
               Date: June        largest Phase III CKD anemia program. We believe we
                                 have compelling evidence confirming [R]oxadustat’s
                                                                          11
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 12 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                    Statement Category2            Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                       (Falsity)3

               12,               cardiovascular safety to support our regulatory
                                 filings…For U.S., we believe our MACE results in
               2019              dialysis and in non- dialysis also support the
                                 conclusion of no increased cardiovascular safety risk.
               Occasion:         To further frame the safety result, along with efficacy
               Goldman Sachs     together, in dialysis, I also want to emphasize [the]
               40th Annual       MACE+ superiority in [the] incident dialysis pool of
               Global            over 1,500 patients. Lower MACE+ risk than EPO in
               Healthcare        incident dialysis may allow Roxadustat to become first-
               Conference        line therapy for patients starting dialysis and continuing
                                 long-term anemia treatment. Superiority in transfusions
               (Exhibit M)       avoiding EPO hyporesponsiveness are important
                                 benefits too in this population. For nondialysis, we
                                 believe safety noninferiority against placebo in MACE
                                 and MACE+ coupled with efficacy benefits like
                                 transfusion reduction, attenuation of renal
                                 progression,     measuring       eGFR       change     and
                                 improvement in quality of life when treating patients
                                 with roxa may give us the opportunity to improve and
                                 expand anemia care in the very large CKD nondialysis
                                 patient population.”
24                              Analyst: “Okay. Maybe on the market development                  Efficacy Statement       Falsity Not Pled with
                                side, with respect to the competitive landscape, there                                      Particularity
                                are various factors, such as biosimilars potentially             Non-Inferiority
                                launching in the U.S. on the EPO side at some point in            Margin Statement         Opinion Statement
                                the foreseeable future potentially. But in terms of other        Safety Analysis          Statement of Corporate
                                therapeutic modalities, are there anything -- is there            Statement                 Optimism
                                anything out there that keeps you awake at night in
                                terms of a competitive perspective outside of the EPO            Black Box Statement
                                or biosimilars that you see coming on here that are on
                                your radar screen with respect to competitive
                                pressures?”
                                24. Neff: “[W]e’re in a place now where we have
                                safety data and efficacy data that’s superior to
                                [Epogen] in a U.S. setting. So I think that situation and
                                all the implications around it is being reevaluated a bit.
                                I think we'll be watching with some interest whether
                                any of the HIF companies can get enough momentum
                                to sort of they'll -- fast follower-type companies. But as
                                it relates to ESAs or PEG-ESAs, I'm not so sure we're

                                                                            12
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 13 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                   Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
                                 thinking that's a major competitive risk at this point.
                                 [Analyst: So you think primarily of the HIF, whether
                                 it's 2 alphas or other things like that, being relatively
                                 early stage in terms of the competitive landscape and
                                 not differentiated . . .]
                                 In the U.S., there are a couple of factors related to how
                                 we’ve differentiated ourselves and I think in one
                                 respect doing the work to do [a] placebo study in CKD
                                 and show that we are as safe as the placebo control
                                 arm is a very exciting place to be.
                                 That took a lot of effort over a long period of time. And
                                 I know that FDA has expressed in various ways that
                                 they're very pleased with the progress over the years
                                 and what's gone on. And in the incident dialysis setting
                                 we also set out a thesis, 2012, 2013, that an incident
                                 dialysis comparison would be favorable to the roxa
                                 technology over EPO. And so we've ended up creating
                                 a pool of almost 1,600 patients in a incident dialysis
                                 setting where from the time a patient might initiate
                                 dialysis any time in the next 4 months they randomize
                                 to either roxa or EPO, then we study them all the way
                                 through and we’ve had outstanding results in this area.
                                 We think it’s the most fair comparison of [Epogen] to
                                 Roxa. We think it opens the door to Roxa being
                                 recommended as a first medicine both in the U.S. and
                                 in China. And so I think that we'll see how it develops.
                                 You can never be sure until you get there, but it looks
                                 very, very promising at this point.”
                                 “I think a key goal in the U.S. was— with CKD
                                 population, a placebo study was to show non-inferior
                                 to placebo, to show that there isn’t any incremental risk
                                 measure so that it opens the door to the logic [that
                                 Roxadustat] shouldn’t have a ‘Black Box’ for
                                 placebo. Therefore, Roxa should not have a ‘Black
                                 Box’ and go from there in dealing withdialysis. And it’s
                                 turned out as we hoped for.”
25      167-   Speaker(s):      25. Neff: “We are pleased to report that in our in our        Miscellaneous          Falsity Not Pled with
        168,                    pre-NDA meeting with the FDA regarding Roxadustat,             Statement               Particularity
               FibroGen, Neff   we reached an agreement with the [FDA] on the content
                                                                           13
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 14 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1               Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                              (Falsity)3
        170    (CEO),Yu          of the NDA including the cardiovascular safety
               (CMO)             analysis.” Id. at 4.
26             Date: August     26. Yu: “As stated by our US partner AstraZeneca, our       Safety Analysis      Falsity Not Pled with
               8,               Phase 3 results confirmed the cardiovascular safety of       Statement             Particularity
                                [R]oxadustat. Together with our partners, AstraZeneca
               2019             and Astellas, we recently had a very good pre-NDA           Miscellaneous        Opinion Statement
                                meeting with the FDA on roxadustat. We reached an            Statement
                                                                                                                  Statement of Corporate
               Occasion:Q2      agreement with the FDA on our proposed pooled                                      Optimism (because of the “very
               2019             MACE analysis in dialysis and in nondialysis. We are                               pleased”)
                                pleased with the agreement for nondialysis as it
               Earnings Call    includes an approach to account for the differential
               (Exhibit N)      dropout between roxadustat and placebo. With
                                agreement on NDA content and format, we are moving
                                as quickly as we can for a submission. We do have a
                                large submission, at this time, we are targeting October
                                of this year.” Id. at 5.
                                “So we are very pleased with the agreement [with the
                                FDA] on the primary safety analysis of our primary
                                cardiovascular safety endpoint in NDD.” Id. at 12.
27                              Analyst: “what were the 2 or 3 most important things        Safety Analysis      Falsity Not Pled with
                                that you guys discussed with the FDA or topics or key        Statement             Particularity
                                issues regarding approvability in your meeting
                                separately, regarding the statistical plan, there seems to                        Opinion Statement
                                be a concern about noninferiority on MACE, not                                    Statement of Corporate
                                MACE Plus, but MACE. Can you talk to your                                          Optimism
                                confidence around the statistics and whether that's an
                                issue for the FDA?
                                27. Yu: In the FDA meeting, we have accomplished
                                what we intended for the meeting. You asked about the
                                important agreement or achievement. I will name that.
                                We have gained FDA's agreement on our proposal for
                                a single primary safety cardiovascular endpoint
                                analysis for dialysis, as well as cardiovascular safety
                                primary endpoint for nondialysis. And in terms of the
                                way that the time to MACE primary endpoint is being
                                analyzed in nondialysis, this will account for
                                differential drop out between our drug and placebo,
                                whereas you know that because placebo doesn't work
                                in treating anemia, placebo patients had a tendency to
                                                                         14
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 15 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2           Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
                                 drop out earlier. And we have reached agreement on
                                 statistical method that accounts for that. You have
                                 asked about our confidence on noninferiority on
                                 MACE. At this time, with these understanding, level of
                                 confidence is very high, and we do believe as
                                 AstraZeneca has stated that our Phase 3 results
                                 confirm cardiovascular safety of [R]oxadustat in the
                                 CKD population in both dialysis and non-dialysis.”
                                 Id. at 9.
                                 “Now, on the safety side– the ability to demonstrate a
                                 drug is as safe as placebo which is a very high bar,
                                 because placebo is considered to give the drug an
                                 opportunity to show how safe it is based on its own
                                 merit.” Id. at 12-13.

28      169-   Speaker(s):      28. “In our pre-NDA meeting with the FDA, we                 Safety Analysis         Falsity Not Pled with
                                reached agreement on the content to be included in            Statement                Particularity
        170    FibroGen, Neff   our NDA submission package for Roxadustat for
               (CEO),Cotroneo   treatment of anemia in CKD, including the                    Efficacy Statement      Statement of Corporate
               (CFO)            cardiovascular safety analyses for both CKD-dialysis                                   Optimism
                                                                                             Miscellaneous
                                and CKD-non-dialysis. The agreement for non-                  Statement               Opinion
               Date: August     dialysis is an approach to account for the differential
               8,               dropout between roxadustat and placebo observed in
                                our Phase 3 studies. We are confident we have
               2019             sufficient data for FDA review of our NDA in both
               Occasion:        CKD dialysis and CKD non-dialysis and we are
                                planning to submit the NDA in October of 2019.”
               Form 10-Q for
               Q2 2019
               (Exhibit O)
29      171-   Speaker(s):      29. “Roxadustat cardiovascular safety comparable to          Safety Analysis         Falsity Not Pled with
        175                     placebo in [NDD] patients as assessed by [MACE] and           Statement                Particularity
               FibroGen         MACE+”; (ii) “Roxadustat did not increase risk of
                                MACE and reduced risk of MACE+ compared to                                            Opinion Statement
               Date:
                                epoetin alfa in [DD] patients”; and (iii) “Roxadustat
               November 8, 2019 reduced risk of MACE by 30% and MACE+ by34%
               Occasion:        compared to epoetin alfa in the incident dialysis (ID)
                                patient subgroup of the DD population.”
               Press release
               announcing

                                                                         15
                                   Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 16 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                (Falsity)3
               “Positive Phase
               3 Pooled
               Roxadustat
               Safety and
               Efficacy
               Results” that had
               been presented at
               ASN
               Kidney Week
               2019
               (“ASN 2019
               Press
               Release”)
               (Exhibit P)
30                                 30.     In the press release, FibroGen reported a         Safety Analysis       Falsity Not Pled with
                                   MACE hazard ratio of 0.96 (95% confidence interval,        Statement              Particularity
                                   0.82 to an upper bound of 1.13) for DD patients; a
                                   MACE hazard ratio of 1.08 (95% confidence interval,                              Opinion Statement
                                   0.94 to an upper boundof 1.24) in NDD patients; and a
                                   MACE hazard ratio of 0.70 (95% confidence interval,
                                   0.51 to an upper bound of 0.96) in the incident dialysis
                                   sub-group of DD patients.
31                                 31.    Dr. Robert Provenzano, MD, Associate               Safety Analysis       Falsity Not Pled with
                                   Professor of Medicine at Wayne State University and        Statement              Particularity
                                   primary investigator of the global Phase 3 program
                                   stated: “The pooled safety analyses assessing                                    No Defendant Alleged to Have
                                   Roxadustat as a treatment for anemia in chronic kidney                            Made Statement
                                   disease demonstrate a cardiovascular safety profile                              Opinion Statement
                                   comparable with placebo in patients not on dialysis
                                   and comparable or in some cases better than that of
                                   epoetina alfa in patients on dialysis.”
32                                 32.   “In the [NDD] patient population: Risks of          Non-Inferiority       Falsity Not Pled with
                                   MACE, MACE+, and all-cause mortality in                    Margin Statement       Particularity
                                   Roxadustat patients were comparable to placebo in
                                   theITT analyses based on a reference non-inferiority      Safety Analysis       Opinion Statement
                                   margin of 1.3…ITT analysis agreed with the FDA.            Statement


                                                                          16
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 17 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                  Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                 (Falsity)3
                                 ...
                                 In the [DD] patient population: Risks of MACE and
                                 all-cause mortality in [R[oxadustat patients were not
                                 increased compared to those for patients receiving
                                 epoetin alfa based on a reference non- inferiority
                                 margin of 1.3. Risk of MACE+ was 14% lower in
                                 Roxadustat-treated patients than in those receiving
                                 epoetin alfa.”
                                 .. .
                                 The incident dialysis patient sub-group of the [DD]
                                 patient population: Risk of MACE was 30% lower in
                                 Roxadustat patients than in epoetin alfa patients, and
                                 risk of MACE+ was 34% lower.”
33      177-   Speaker(s):       33. Schoeneck: “The pooled results show that                  Safety Analysis      Falsity Not Pled with
                                 roxadustat’s cardiovascular safety was comparable to           Statement             Particularity
        178,   FibroGen,         placebo in [NDD] patients. And in [DD] patients,
        182-   Schoeneck (Int.   roxadustat did not increase the risk of MACE and                                    Opinion Statement
               CEO),      Yu     reduce the risk of MACE+ compared to epotin alfa,
        183    (CMO)             the leading product currently used to treat this
               Date:             population. Finally, in the subgroup of dialysis patients
                                 who recently started dialysis, referred to as incident
               November11,       dialysis patients, roxadustat reduced MACE by 30%
               2019              and MACE+ by 34% compared to epoetin alfa.
                                 Roxadustat achieved the primary hemoglobin efficacy
               Occasion:3Q       endpoitns in all of these groups…Having an oral
               2019              product with this safety and efficacy profile can offer
                                 patients with anemia or chronic kidney disease and
               Earnings Call     their doctors a treatment unlike anything currently on
               (Exhibit R)       the market in the U.S. or Europe.”

34                               Analyst: “I would just like to understand, since there        Non-Inferiority      Falsity Not Pled with
                                 seems to be some investor concern about FDA                    Margin                Particularity
                                 agreements and FDA sign-off…how your general
                                 impression was of your meeting with the FDA”                  Miscellaneous        Opinion Statement
                                 34. Yu: “First of all, I wanted to share that we have been                          Statement of Corporate
                                 in dialogue with the FDA in the past 6 years. And there                              Optimism
                                 has been a very good understanding about what the                                   Forward-Looking Statement
                                 Phase III required study would look like and including                               (NDA prospects)
                                 the size of the study, how to power it [for example]
                                                                           17
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 18 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                   Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
                                 what's the primary endpoint and we agree on time to                                   o Identified As Forward-
                                 meet at the primary endpoint, and that's how we power                                   Looking (Ex. R at 4) &
                                 for the non-dialysis and the dialysis. And we've also had                               Adequate Cautionary
                                 a very productive dialogue with the FDA on the                                          Language (Ex. S at 49, 50,
                                 analysis of cardiovascular safety as well as what the                                   51, 52, 53, 54, 57, 58, 70,
                                 efficacy requirement needs to be for this submission.                                   71)
                                 And the most recent conversation with the FDA was at
                                 the end of July. And we had sent it to the FDA, a fairly                              o No Allegations of Actual
                                                                                                                         Knowledge of Falsity
                                 comprehensive briefing package and had a very
                                 productive meeting. And walking out of it, we felt that
                                 we had all the guidance from the FDA we needed to
                                 put together a winning submission.”
                                 Analyst: “so you feel no issue or no real concern about
                                 the hazard ratios and the [upper bounds] and all the
                                 things that people are talking about? You look at
                                 diabetes program and things like that, there’s – you’re
                                 well within that. So you don’t feel any concern about
                                 that?”
                                 Yu: “No, we have no concern about that. And Mike, as
                                 you know, that our regulatory assessment is not based
                                 on 1 criterion. But instead, it is based on totality of
                                 evidence such as efficacy, safety, what is the medical
                                 need. And so based on our discussions and the historical
                                 precedents in this therapeutic area and the various
                                 conversations we've had with the agency, we are very
                                 comfortable with our data where it is now.” Id.

35                               35. Analyst: “When are you going to talk about the           Non-Inferiority        Falsity Not Pled with
                                 …statistical analysis plan, including the non-inferiority     Margin                  Particularity
                                 margin. Is there any pre-planned FDA meeting in the
                                 coming weeks?”                                               Miscellaneous          Opinion Statement
                                                                                               Statement

                                 Yu: “So the answer to that question is that we had
                                 already talked with the FDA about [the] analytical plan,
                                 and we had made the agreement on the analysis plan.
                                 The results that we have presented in the high-impact
                                 clinical session at the ASN, and the numbers I had just
                                 presented, were based on the agreed upon analysis
                                 plan that we have made with the FDA . . .

                                                                           18
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 19 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                    Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                   (Falsity)3
                                 So we are talking about the analysis plan, meaning how
                                 do you pool, what's the pooling strategy and the analysis
                                 plan, how to analyze the data. When you talk about NI
                                 margins, you're talking about the standard for
                                 assessment, right? And as I mentioned earlier, that we
                                 expect that [all] regulators will assess the data based on
                                 the very -- all the -- on the entire application of the
                                 NDA. And based on our dialogue with the FDA over
                                 the past 6 years and the data, as we have shown, we are
                                 confident that we do have what it takes for this drug to
                                 be favorably evaluated.”

36      179,   Speaker(s):       36. “FGEN said in an emailed statement ‘We do not             Miscellaneous          Falsity Not Pled with
        182-                     agree with this report, which contains many                    Statement               Particularity
               FibroGen Date:    inaccuracies. The data presented at [ASN] reflect the
        183                      analytical methods and study pools agreed upon with                                   No Defendant Alleged to Have
               November14,       the FDA.’”                                                                             Made Statement
               2019
               Occasion:
               Email to
               Buyers Strike,
               theauthor of a
               November12,
               2019
               short report
               (Exhibit T)

37      181-   Speaker(s):       37. “The below cardiovascular safety analysis                 Safety Analysis        Falsity Not Pled with
        183                      reflects the pooling strategy and analytical approach          Statement               Particularity
               FibroGen,         we agreed on with the FDA. Similar sets of analyses
               Schoeneck (Int.   will be submitted to the EMA to serve as the basis for        Miscellaneous
               CEO),             potential approval in dialysis and non-dialysis in             Statement
               Cotroneo          Europe, and additional supportive analyses and
               (former CFO)      sensitivity analyses as well as subgroup analyses will
                                 also be included in the NDA and MAA. However, the
               Date:             FDA and EMA will each conduct their own benefit-risk
               November12,       analysis and may use additional statistical analyses
               2019              other than those agreed with the FDA or set forth
               Occasion: Form    below, including, but not limited to, pre-specified or
               10-Q for Q3       other analyses that may not sufficiently address the
                                                                            19
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 20 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                (Falsity)3
               2019              differential drop-out rate between the roxadustat and
                                 placebo study arms in non-dialysis.” Id. at 28.
               (Exhibit S)
38                               38. “In our pre-NDA meeting, the FDA agreed that            Non-Inferiority       Falsity Not Pled with
                                 the ITT- analysis would be our primary                       Margin Statement       Particularity
                                 cardiovascular safety analysis method for non-
                                 dialysis in the U.S. as it uses on-treatment and post-      Safety Analysis       Opinion Statement
                                 treatment long term follow-up (until a common study          Statement
                                 end date) to account for the higher drop-out rate in the    Miscellaneous
                                 placebo arm.The figure below shows that in the 4,270         Statement
                                 pooled non-dialysis patients (OLYMPUS, ANDES,
                                 and ALPS), the risk of MACE, MACE+, and all-cause
                                 mortality in Roxadustat patientswere comparable to
                                 that in placebo patients based on a reference non-
                                 inferiority margin of 1.3.” Id.
39      184-   Speaker(s):       39. Conterno: “And then, of course, there is this           Safety Analysis       Falsity Not Pled with
                                 question of, well, how does the cardiovascular safety        Statement              Particularity
        186    FibroGen,         look like. As you're aware, I've had a chance to conduct
               Conterno          and be part of a number of cardiovascular studies in my                            Opinion Statement
               (CEO)             previous role, and I believe that the data that we have                            Statement of Corporate
               Date:             on cardiovascular safety is very compelling.” Id. at 8.                             Optimism
               February25,
               2020
               Occasion:SVB
               Leerink
               Global
               Healthcare
               Conference
               (Exhibit U)
40                               40. Conterno: “And when we look at the data,                Safety Analysis       Falsity Not Pled with
                                 basically – we basically show to be comparable to            Statement              Particularity
                                 placebo. And importantly, when we look at the
                                 subcomponents of MACE, we had, or course, MI and                                   Opinion Statement
                                 stroke, and death, and…Hospitalization for heart                                   Statement of Corporate
                                 failure and hospitalization for unstable angina. We –                               Optimism
                                 when we look at all those, in each – for each one of the

                                                                          20
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 21 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                  Statement Category2            Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                     (Falsity)3
                                 subcomponents, that confidence interval actually
                                 encompassed one which makes our data extremely
                                 clean … from my perspective when it comes to
                                 cardiovascularsafety.” Id. at 8.
41                               41. Conterno: “There are not many options, and we             Safety Analysis          Falsity Not Pled with
                                 have a trial that, in my view, basically, shows safety         Statement                 Particularity
                                 against what I think is a very high hurdle of placebo.”
                                 Id. at 9.                                                                               Opinion Statement

42                               42. Conterno: “And then, I think if you look at the           Safety Analysis          Forward-Looking Statement (“do
                                 data on its face, I do not believe that the data warrants      Statement                 not believe that the data
                                 a black box. Now there’s a lot of context when we                                        warrants”)
                                 discuss a black box, and of course, there’s a black box       Black Box Statement
                                 for EPO agents in the class. I get that, and the FDA                                     o No Allegations of Actual
                                 takes many considerations. But I do think that it is a                                       Knowledge of Falsity
                                 pretty high standard, and I’m very excited and                                          Falsity Not Pled with
                                 delighted with the results that we got in -- out of                                      Particularity
                                 cardiovascular safety . . .
                                                                                                                         Statement of Corporate
                                 Yes. I think of -- it is the base case is, yes, that we have                             Optimism
                                 a broad label. And I think the base case for me is also
                                 that we get a black box, but we have the optionality of                                 Opinion Statement
                                 an upside of not be able to get one, given the data that
                                 we have. But that is an upside, I think, to our current
                                 plans.
                                 We can be extremely successful. This would be a
                                 transformational medicine, regardless.”
43                               43. Conterno: “Keep in mind that the guidance that            Non-Inferiority          Falsity Not Pled with
                                 the FDA has provided is strictly for diabetes                  Margin Statement          Particularity
                                 medicines, and the guidance for diabetes medicines is
                                 a 1.3 upper bound. So that means to -- we want to             Safety Analysis          Opinion Statement
                                 make sure – the FDA wants to make sure that products           Statement
                                 can exclude more than 30% risk of MACE events --
                                 increased risk of MACE events.
                                 There is no such guidance for CKD anemia, which
                                 means that the FDA will have a -- this will become a
                                 product review issue when they look at the benefit/risk
                                 profile of the product.
                                 Now in our trial, when we looked at the pooled analysis
                                                                           21
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 22 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                   Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                   (Falsity)3
                                 of [NDD studies] we do basically see hazard ratios,
                                 about 1—slightly higher than 1, but the upper bound
                                 in each one of these cases, is below1.3. I do want to
                                 make the point the 1.3 number is an arbitrary number,
                                 okay? It was arbitrary for diabetes, and it's just a
                                 number. So at the end, I think it's a question of looking
                                 at what are the options. Keep in mind that the option
                                 today for those patients in NDD is really the EPOs
                                 actually have a black box and actually had a
                                 demonstration of -- sorry, a further trial.” Id.
        187-                     44. Yu: “With the robust efficacy and safety profile 
44             Speaker(s):       demonstrated in our large Phase III program of over
                                                                                               Efficacy Statement      Falsity Not Pled with
        188    FibroGen, Yu      8,000 patients, we believe roxadustat can potentially        Safety Analysis          Particularity
               (CMO)             better address CKD anemia than what is currently              Statement               Forward-Looking Statement
                                 available to CKD patients on dialysis and those not on                                 (“we believe”)
               Date: March       dialysis.
                                 ...                                                                                     o Identified As Forward-
               2,                                                                                                          Looking (Ex. V at 4) &
                                 Roxadustat-treated patients had lower transfusion risk                                    Adequate Cautionary
               2020              than epoetin alfa patients, while lowering MACE+                                          Language (Ex. W at 48, 50,
               Occasion:         risk in the dialysis patient pool. Notably, unlike ESA,                                   51, 54, 65, 66)
               4Q and FY2019     Roxadustat maintain efficacy without increasing dose                                    o No Allegations of Actual
                                 requirements in the presence of inflammation.                                             Knowledge of Falsity
               Earnings Call     ...
               (Exhibit V)       “Within the dialysis patient population, we are                                       Opinion Statement
                                 particularly excited about the cardiovascular safety                                  Statement of Corporate
                                 results of the incident dialysis population. These                                     Optimism
                                 patients entered the study during the first 4 months of
                                 dialysis initiation and had an average treatment
                                 duration of 1.5 years. We enrolled over 1,500 incident
                                 dialysis patients in this program, the largest in this
                                 population ever conducted. Here, we demonstrated a
                                 meaningful reduction in cardiovascular safety risk, as
                                 Roxadustat- treated incident dialysis patients had a
                                 30% lower MACE risk and a 34% lower MACE+ than
                                 epoetin alfa-treated patients. We believe the high-risk
                                 incident dialysis population is the right and most
                                 appropriate setting for comparison of Roxadustat
                                 versus the epoetin alfa, since most patients are ESA-
                                                                            22
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 23 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                               (Falsity)3
                                 naïve to prior to study entry.” Id.
                                 ...
                                 With respect to cardiovascular safety, Roxadustat was
                                 comparable to placebo in risk of MACE and MACE+,
                                 while achieved a mean hemoglobin level of 11 grams
                                 per deciliter.
                                 ...
                                 [Analyst: “And then on roxa, my question is, there is,
                                 obviously, some competitors around you, one of which
                                 will have Phase III data coming up shortly. Maybe you
                                 could comment on what we should keep in mind or
                                 what you're looking for and how to put that into
                                 context?”]
                                 ...
                                 Now, however, I could comment on the Phase III study
                                 design, that we have designed a program to
                                 demonstrate safety in comparison to placebo and with
                                 the hope and confidence of gaining clean safety label
                                 fornon-dialysis.” Id. at 11.
45      187-   Speaker(s):       45. Non-Dialysis - Pooled Cardiovascular Safety           Safety Analysis        Falsity Not Pled with
                                 Data                                                       Statement               Particularity
        188    FibroGen,
               Conterno          “In our pre-NDA meeting, the FDA agreed that the          Miscellaneous          Opinion Statement
               (CEO) and         intent-to-treat analyses followed for long-term safety     Statement
               Cotroneo          results would be our primary cardiovascular safety
               (CFO)             analysis method for non-dialysis in the U.S. as it uses
                                 on-treatment and post treatment long term follow-up
               Date: March       (until a common study end date) to account for the
                                 higher drop-out rate in the placebo arm. The figure
               2,                below shows that in the 4,270 pooled non-dialysis
               2020              patients (OLYMPUS, ANDES, and ALPS), the risk of
                                 MACE, MACE+, and all-cause mortality in roxadustat
               Occasion:         patients were comparable to that in placebo patients
               2019 Form10-K     based on a reference non-inferiority margin of 1.3.” Id.
                                 at 9.
               (Exhibit W)
                                 Dialysis - Pooled Cardiovascular Safety Data
                                 “In the pooled on-treatment analysis of 3,880 dialysis
                                 patients (HIMALAYAS, SIERRAS, and ROCKIES),
                                 the risk of MACE and all-cause mortality in roxadustat
                                 patients were not increased (based on a reference non-
                                 inferiority margin of 1.3), and roxadustat lowered the
                                                                         23
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 24 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                    Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                    (Falsity)3
                                 risk of MACE+ by 14% compared to the active
                                 comparator epoetin alfa, based on a hazard ratio of 0.86
                                 and an upper bound of 95% CI under 1.0. The hazard
                                 ratios represent a point estimate of relative risk.” Id.
                                 Incident Dialysis Subgroup - Pooled Cardiovascular
                                 Safety Data
                                 “In this program, incident dialysis patients are those
                                 who started participation in roxadustat Phase 3 studies
                                 within their first four months of dialysis initiation. In
                                 this clinically important subgroup of 1,526 incident
                                 dialysis patients, roxadustat reduced the risk of MACE
                                 by 30% and MACE+ by 34%, with a trend towards
                                 lower all-cause mortality. The lower MACE and
                                 MACE+ risks (compared to epoetin alfa) are based on
                                 hazard ratios of 0.70 and 0.66, respectively, with the
                                 upper bound of 95% CI under 1.0 in both. We believe
                                 this incident dialysis subpopulation is the appropriate
                                 setting for comparison of roxadustat versus epoetin alfa
                                 since most incident dialysis patients were ESA-naïve or
                                 have had only limited exposure to ESAs prior to study
                                 entry. In addition, the initiation of anemia therapy in
                                 this incident dialysis subgroup resembles clinical
                                 practice as the vast majority of US patients start anemia
                                 therapy early in dialysis treatment (during the first four
                                 months of treatment).” Id. at 10.
46      189,   Speaker(s):       46. Yu: “Importantly, we have demonstrated                    Safety Analysis         Falsity Not Pled with
        191                      cardiovascular safety in the overall dialysis                  Statement                Particularity
               FibroGen, Yu      population and in MACE. And furthermore, we
               (CMO)             demonstrated a reduction in MACE+ risk. In our 1,530-                                  Opinion Statement
                                 incident dialysis patient pool, where the comparison
                                 between Roxadustat with epoetin alpha started within
               Date:             the first 4 months of dialysis initiation, Roxadustat had
                                 a 30% lower risk of MACE and 34% lower risk of
               May 7, 2020       MACE+ than epoetin alfa, with a trend towards lower
                                 or cause mortality, relative to epoetinalfa.” Id. at 10.
               Occasion:1Q
               2020
47             Earnings Call     47. Yu: “When we look at the converted patients or            Efficacy Statement      Falsity Not Pled with
                                 the stable dialysis patients and evaluate and looking at                                Particularity
                                                                                               Safety Analysis
                                                                            24
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 25 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                 Statement Category2          Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
               (Exhibit X)       safety -- cardiovascular safety, it does not change any      Statement               Opinion Statement
                                 of the conclusions that we have on the -- about
                                 Roxadustat being safe and efficacious.” Id. at 11.

48                               48. Yu: “And so I also wanted to point out that             Safety Analysis         Falsity Not Pled with
                                 placebo comparator offers as a comparator is a high bar      Statement                Particularity
                                 for comparison for cardiovascular safety because, if
                                 one were to choose ESA, that -- as an agent, that                                    Opinion Statement
                                 already has a box warning for cardiovascular safety.
                                 But placebo is the gold standard. With -- in
                                 comparison to placebo, we have demonstrated that
                                 cardiovascular safety in the MACE endpoint and
                                 MACE+ endpoint.” Id. at 17.


49                               49. Yu: “And so, in conclusion, Roxadustat,                 Safety Analysis         Falsity Not Pled with
                                 excellent cardiovascular safety profile, coupled with        Statement                Particularity
                                 the statistically significant and clinically meaningful,
                                 higher hemoglobin efficacy results and             lower    Non-Inferiority         Opinion Statement
                                 transfusion rate relative to epoetin alfa, together          Margin Statement
                                                                                                                      Statement of Corporate
                                 makes Roxadustat potentially a better treatment option                                Optimism
                                 for dialysis-dependent patients. We like thehand that
                                 we have and expect the product label to reflect the                                  Forward-Looking Statement
                                 results of clinical trials on our compound.” Id. at 11.                               (“expect”)
                                                                                                                       o Identified As Forward-
                                                                                                                           Looking (Ex. X at 4) &
                                                                                                                           Adequate Cautionary
                                                                                                                           Language (Ex. W at 48, 50,
                                                                                                                           51, 54, 65, 66)
                                                                                                                       o No Allegations of Actual
                                                                                                                           Knowledge of Falsity

50      190-   Speaker(s):      50. Conterno: “But in particular, as I think about the       Efficacy Statement      Falsity Not Pled with
                                differentiation of Roxa, number one, I think you have                                  Particularity
        191    FibroGen,        to start with efficacy. Keep in mind that not only do we     Safety Analysis
               Conterno         meet our primary efficacy end points, we were                 Statement               Statement of Corporate
               (CEO)            basically statistically superior to EPO on our trials in                               Optimism
                                DD. So that's important. Of course, we also show                                      Opinion Statement
               Date: May        efficacy. It was relative to placebo in NDD. And quite
               14,              -- when we look at – one of the benefits of having
                                achieved efficacy when it comes to hemoglobin is that
                                                                           25
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 26 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                     Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                    (Falsity)3
               2020              it translates into lower transfusion rates. We actually
                                 had lower transfusions with Roxa than with EPO, and
               Occasion:         of course, much lower relative to placebo in the NDD
               Bank of America   segment. So that benefit to me, I think, is pretty
               Securities 2020   significant. Clearly, in the— when we look at the
               HealthCare        totality of the data, I find our overall cardiovascular
               Conference        data pretty compelling. And in particular, I think we
                                 need to highlight the incident dialysis data, whereby
               (Exhibit Y)       we basically show a reduction in risk of MACE events
                                 at a time that is critical. And this is—incident dialysis,
                                 basically, covers those patients within the first 4
                                 months of starting dialysis. That is the time when a
                                 treatment decision is made whenit comes to anemia. So
                                 I feel like we are perfectly accurate to wish -- with a
                                 huge benefit in that cohort of patients, to be able to have
                                 a significant position longer term in that segmentSo that
                                 I find also quite meaningful. And clearly the data is
                                 highly—it was—compared to EPO, it’s highly
                                 differentiated based on what we can see.” Id. at 6.

51      192,   Speaker(s):       51. Conterno: “I think in NDD we basically have a              Safety Analysis        Falsity Not Pled with
                                 comparison relative to placebo. And therefore when we           Statement               Particularity
        194    FibroGen,         look at our data, I feel it basically shows that the
               Conterno          product is safe because of the safety profile when it          Black Box Statement    Forward-Looking Statement
               (CEO)             comes to CV comparable to placebo.                                                      (“data does not warrant”)
               Date:                                                                                                       o No Allegations of Actual
                                                                                                                              Knowledge of Falsity
               June 2, 2020      In DD, yes, the question could be raised, well, you’re
                                 comparing yourself to a product that has a black box in                                Opinion Statement
               Occasion:
                                 DD, and I get that. But in DD, when it comes to                                        Statement of Corporate
               Jefferies2020     incident dialysis, we do show an actual significant                                     Optimism
               Healthcare        benefit, well, with a 30% reduction in MACE . When
               Conference        I put those two reasons together, I look at the
                                 compelling nature of our data, and I feel that the data
               (Exhibit Z)       does not warrant a BlackBox related to CV safety.” Id.
                                 at 4.

52      193-   Speaker(s):       52. Conterno: “Importantly, CV safety was                      Safety Analysis        Falsity Not Pled with
                                 demonstrated across all studied populations. Non-               Statement               Particularity
        194    FibroGen,         dialysis- dependent, incident dialysis and dialysis
               Conterno          dependent... In incidentdialysis patients, Roxadustat                                  Opinion Statement
               (CEO)             reduced risk of major adverse cardiovascular events
                                                                             26
                                    Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 27 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                      Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                      (Falsity)3
               Date:                or MACEby 30%. And reduce[d] the risk of MACE+
                                    by 34% compared to epoetin alfa. Both results were
               June 4, 2020         statistically significant. There was also a trend towards
                                    lower all-cause mortality relative to epoetin alfa.
               Occasion: 2020       Roxadustat clearly provides a large clinical benefit in
               Annual               the incident dialysis patient population, and we believe
               Shareholder          this is a natural decision point for health care
               Meeting              professional[s] whenselecting which therapeutic agent
                                    will be utilized in the treatment of anemia.” Id. at 7.
               (Exhibit AA)
53      195-   Speaker(s):          53. Conterno: “I think as you know, I've been very            Safety Analysis        Falsity Not Pled with
        197                         excited about our incident dialysis data and the fact          Statement               Particularity
               FibroGen,            that weshowed a 30% reduction in MACE risk and
               Conterno             34% when it comes to MACE plus. Honestly, that's                                      Opinion Statement
               (CEO)                huge and that's an anchor. Because as patients start
               Date:                dialysis, clearly part of that dialysis initiation is going
                                    to betreatment of anemia. And I believe that we have
               June 9, 2020         the very best data. It's quite compelling and
               Occasion:            differentiated.” Id. at 6.
54             Goldman Sachs        54. Conterno: “So as you said, I think we showed a            Safety Analysis        Falsity Not Pled with
               41st Annual Global   significant benefit when it comes to MACE in [the              Statement               Particularity
               Healthcare           incident dialysis] population, 30% reduction in
               Conference           MACE. Just for your audience, incident dialysis is            Black Box Statement    Statement of Corporate
                                    basically we enroll patients that basically were starting                              Optimism
               (Exhibit BB)
                                    dialysis…And what we –as you know, these patients                                     Opinion Statement
                                    are at significant risk because of the transition. It is one
                                    of the risker times for patients. And I think the results
                                    are quite compelling. Unfortunately, as you know
                                    survival with dialysis is not good…so giving them the
                                    best chance by whenever they start dialysis to have – to
                                    basically be on a treatment that has such compelling
                                    MACE results, I think is incredibly important. So I feel
                                    it is the natural point when the treatment decision for
                                    anemia will be made starting dialysis and where we
                                    have probably the most compelling data that we have.
                                    ...
                                    And relative to EPO in DD, in incident dialysis where
                                    there are so many risks for CV events, we basically
                                    have a 30% reduction in MACE. That's an unbelievable

                                                                               27
                                               Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 28 of 42

    Stat.   CC        Speaker, Date, and Alleged False and Misleading Statements1                                      Statement Category2           Reason Not Actionable
    #(s)                  Occasion
            ¶¶’s                                                                                                                                           (Falsity)3
                                               result. So I find the data very compelling, and I don’t
                                               believe the CV data -- safety data warrants a black
                                               box.” Id. at 8.
    55                                         55. Conterno: “But I – as you know, there’s a                              Black Box Statement     Falsity Not Pled with
                                               difference in trial design [in NDD] in that we compare                                               Particularity
                                               [ourself] to placebo, which I think gives us the very best
                                               chance basically to have a label without a black box,                                               Forward-Looking (“best chance .
                                               given that we showed basically comparable safety to                                                  . . to have a label”)
                                               placebo. It is very difficult to achieve that -- if the trial                                            No Allegations of Actual
                                               is designed with a comparator relative to a product that                                                  Knowledge of Falsity
                                               has a black box.” Id. at 7.
                                                                                                                                                   Opinion Statement
    56      198,      Speaker(s):              56. Conterno: “As it relates to a boxed warning, as I                      Black Box Statement     Falsity Not Pled with
                                               mentioned, we’re not planning to make comments                                                       Particularity
            200       FibroGen,                when it comes to labeling going forward. But clearly,                      Safety Analysis
                      Conterno                 we view that Roxadustat will be successful -- I think                       Statement               Opinion Statement
                      (CEO)                    I've mentioned this to youand others in the past, very                     Efficacy Statement      Statement of Corporate
                                               successful regardless. Clearly, we need to look at the                                               Optimism
                      Date: August             entire label. And when we look at the label for
                      6,                       Roxadustat, including a potential boxed warning, it’s                                               Forward-Looking Statement
                                               going to be what does the lab[el]5 in totality says and                                              (“will be”)
                      2020                     our ability to fully commercialize Roxadustat, given all                                             o Identified As Forward-
                      Occasion:                the benefit that it can provide. We continue to view                                                    Looking (Ex. CC at 4) &
                                               that our data shows a very positive benefit- risk profile                                               Adequate Cautionary
                      2Q 2020                  for the product.” Id. at 7.                                                                             Language (Ex. W at 48, 50,
                      Earnings Call                                                                                                                    51, 54, 65, 66)
                      (Exhibit CC)                                                                                                                  o No Allegations of Actual
                                                                                                                                                       Knowledge of Falsity


    57                                         Analyst: “[W]hat are sort of the key takeaways …from                       Miscellaneous           Falsity Not Pled with
                                               your mid-cycle review meeting” and “what are the key                        Statement                Particularity
                                               …gating steps for you as you get to the end of the year
                                               on the review?”                                                                                     Statement of Corporate
                                                                                                                                                    Optimism
                                               57. Conterno: “[T]he mid-cycle review is an overall
                                               update of our submission. But when it comes to news,                                                Opinion Statement

5
    The transcript of this earning call states “labor.” However, in the recording of the earnings call, Conterno clearly states “label.”
                                                                                                   28
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 29 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                    Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                   (Falsity)3
                                 as we've shared, the FDA indicated to us that there's no
                                 outcome that is planned at this stage. Clearly, you are
                                 asking about other types of interaction with the FDA
                                 going forward. I think it should be no surprise, but
                                 clearly, labeling discussions are critical, and those will
                                 be starting soon. And of course, we need preapproval
                                 inspections and so forth. But our engagement and our
                                 interaction with the FDA was positive. So we feel good
                                 about the progress that we are making.” Id. at 7-8.

58      199-   Speaker(s):       58. “As mentioned above, during the second quarter            Safety Analysis        Falsity Not Pled with
                                 of 2019, the Company received positive topline results         Statement               Particularity
        200    FibroGen,         from analyses of pooled MACE and MACE+ data
               Conterno          from its Phase 3 trials for Roxadustat, enabling the          Miscellaneous          Opinion Statement
               (CEO),            Company’s NDA submission to the FDA.” Id. at 13.               Statement
               Cotroneo
               (CFO)
               Date: August
               6,
               2020
               Occasion:2Q
               2020
               Form 10-Q
               (Exhibit DD)
59      201,   Speaker(s):       Analyst: “But let’s begin with the topic that I think is      Non-Inferiority        Falsity Not Pled with
        203-                     probably at the top of a lot of investor’s minds, and          Margin Statement        Particularity
               FibroGen,         that’s the vadadustat results that came out last week
        204    Conterno          from Akebia in non-dialysis setting that seemed               Safety Analysis        Opinion Statement
               (CEO)             disappointing. But could you discuss your take on those        Statement
               Date:             results? And what that means for Roxadustat?
               September9,       59. Conterno: “Yes, I think there are 3 elements that
               2020              I would highlight as we think about those results and in
                                 the context for roxa. I think number one, I think is the
               Occasion:         significant level of evidence that we have already with
               Citigroup 15th    Roxadustat around NDD. As you know, when we look
                                 at our pool studies for NDD, we were able to show non-
                                                                            29
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 30 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                 Statement Category2          Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
               Annual            inferiority relative to placebo, which is a higher bar
               BioPharma         than a comparison to a product that had – or product
               Conference        [that has] box warnings. So we feel very good about
                                 our pool MACE data in NDD.” Id. at 5.
               (Exhibit EE)

60                               Analyst: “I think a discussion that’s come up a lot with     Safety Analysis        Falsity Not Pled with
                                 investors, even before the data we saw last week is           Statement               Particularity
                                 could roxadustat have a black box warning…Is it
                                 important to Roxadustat whether it has a black box           Black Box Statement    Opinion Statement
                                 warning or not?”                                             Miscellaneous          Statement of Corporate
                                 60. Conterno: “So we commented as part of the Q3 -            Statement               Optimism
                                 - Q2 earnings call that unfortunately, given it was
                                 imminent that we would be entering labeling
                                 discussions that we were not going to be able to make
                                 further comments in terms of our engagement with the
                                 FDA. So that is the case. We feel --I think what I can
                                 say is we feel very good about where we are in terms
                                 of the review with the FDA, the level of engagement
                                 that we have. I know this question about a box warning
                                 comes often, which is are going to get one or not. My –
                                 and what is the impact that a box warning would have?
                                 It’s always difficult to handicap what is going to be the
                                 final level. But we feel very good about the level of
                                 energy that we have. I think what I’ve said before is
                                 that we have excellent data. We don’t believethat the
                                 data that we have warrants a box warning. But once
                                 again, difficult to handicap what we’ll end up with the
                                 FDA.” Id. at 6.

61      202-   Speaker(s):       Analyst: “[H]ow do you think about roxa as different         Safety Analysis        Falsity Not Pled with
                                 from vada, the Akebia product, given their recent non         Statement               Particularity
        204    FibroGen,         –NDD data?So do you look at that as…every drug is
               Conterno          specific to its own targets? Or do you look at it as a                               Opinion Statement
               (CEO)             mechanism effect, et cetera?”
               Date:             61. Conterno: “Yes. Clearly, that's a question that is
               September16,      coming often to us, and I'll provide, I think, an
               2020              appropriate perspective in terms of trying to put that
                                 result into context for investors. I'd like to make 3
               Occasion:         points. Number one, Roxadustat has a very significant

                                                                          30
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 31 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                  Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
               Morgan Stanley    data set in [N]DD. We have a pool analysis in NDD that
               18thAnnual        we submitted to the FDA. As part of our NDD pool
               Global            analysis, when we look at MACE, we were non-
               Healthcare        inferior relative to placebo, which is a higher bar than
               Conference        ESAs would be. So we feel very good about our data
                                 there.” Id. at 5.
               (Exhibit FF)

62      205-   Speaker(s):       62. Conterno: “Together with our partners, we had 42        Efficacy Statement      Falsity Not Pled with
                                 presentations, including 10 oral, which add to the                                    Particularity
        206    FibroGen,         understanding of roxadustat's efficacy and safety           Safety Analysis
               Conterno          profile and the unmet need -- and the unmet medical          Statement               Opinion Statement
               (CEO)             need in anemia of CKD. The roxadustat clinical data                                  Statement of Corporate
               Date:             demonstrated consistent efficacy and reassuring                                       Optimism
                                 safety results across the continuum of CKD patients
               November5,        with anemia, adding to the established body of
               2020              evidence highlighting roxadustat as a potential
                                 foundational treatment for this condition affecting
               Occasion:3Q       millions of patients. We also presented data on the
               2020              significant burden of anemia of CKD, a reminder that
                                 new treatment options for these patients are sorely
               Earnings Call     needed.” Id. at 5.
               (Exhibit GG)
63                               63. Conterno: “So we think [Roxadustat] has the             Efficacy Statement      Falsity Not Pled with
                                 right efficacy safety profile to be able to have a really                             Particularity
                                 good uptake in the NDD setting and be able to be a          Safety Analysis
                                 catalyst for the overall expansion of that market.” Id.      Statement               Forward-Looking Statement
                                 at 10.                                                                                (roxadustat potential)
                                                                                                                       o Identified As Forward-
                                                                                                                           Looking (Ex. GG at 4) &
                                                                                                                           Adequate Cautionary
                                                                                                                           Language (Ex. W at 48, 50,
                                                                                                                           51, 54, 65, 66)
                                                                                                                       o No Allegations of Actual
                                                                                                                           Knowledge of Falsity
                                                                                                                      Opinion Statement
                                                                                                                      Statement of Corporate
                                                                                                                       Optimism



                                                                           31
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 32 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                               (Falsity)3

64                               64. Conterno: “Now when it comes to Roxa, I think           Safety Analysis      Falsity Not Pled with
                                 what’s important is when – first, when we look at the        Statement             Particularity
                                 overall trial, we basically see that in NDD, we were
                                 comparable to placebo. So that’s when it comes to                                 Opinion Statement
                                 MACE. So that’s critically important. We showed
                                 non-inferiority.” Id. at 14.
65                               65. Conterno: “So we think that roxadustat offers a         Safety Analysis      Falsity Not Pled with
                                 number of benefits. I think if we think about straight off   Statement             Particularity
                                 the bat, in incident dialysis, the excellent data that we
                                 have with – showing basically                    reduced                          Statement of Corporate
                                 cardiovascular outcomes in this population, so that’s                              Optimism
                                 extremely important.” Id. at 12.                                                  Opinion Statement

66      207,   Speaker(s):       Analyst: “I think The Street by now has accepted            Safety Analysis      Falsity Not Pled with
                                 there’ll be no AdCom. I still get the question. It’s a       Statement             Particularity
        209    FibroGen,         disease area that’s obviously been fraught with a lot of
               Conterno          post-approval safety issues with a new class. So help us    Miscellaneous        Statement of Corporate
               (CEO)             understand …what the FDA’s reasoning here was for no         Statement             Optimism
               Date:             FDA panel. I imagine they want to cover their bases, but                          Opinion Statement
                                 just their comfort level with this space maybe is what
               November17,       got them here. So why don’t you provide us some color
               2020              around that?”
               Occasion:         66. Conterno: “I can’t speculate over why the FDA
               Stifel 2020       has not decided to have an AdCom or call an AdCom
               Virtual           in this particular case…I typically think of the AdCom,
               Healthcare        it’s just part of the process of the FDA approval. I don’t
               Conference        see it as a negative or a positive in any way. And of
                                 course, given the chance of an AdCom, we had to
               (Exhibit HH)      prepare for one but that's really water under the
                                 bridge. So at this stage, I think what I can say is
                                 basically we have to rely on the data that we've shared.
                                 And I feel that thedata that we shared, I think is very
                                 compelling when it comes to Roxadustat and the
                                 ability to basically show yes, improving, correcting and
                                 maintaining hemoglobin levels, but importantly, as a
                                 result, decreasing the number of transfusions and then
                                 the broad safety data that we have first thing in DD,
                                 where we look at both our safety data there when we
                                 compared to ESAs. As you know we have had pretty
                                 compelling data when it comes to incident dialysis we
                                                                             32
                                   Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 33 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                      Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                     (Falsity)3
                                   had stat[istical] sig[nificance] in terms of a reduction
                                   in the number of MACE events in that setting. And
                                   then when we look at NDD, we were compared to
                                   placebo and we basically had comparability when it
                                   comes to overall safety. So, feel very goodabout the
                                   overall package that we had.” Id. at 2.
                                   [Analyst: “What are [dialysis providers] going to be
                                   learning from the piloting of this product to gain
                                   additional experience, to get them comfortable? Are
                                   there certain metrics they’re looking for?”]
                                   Conterno: “Keep in mind; whenever we conduct the
                                   Phase 3 trials, we are looking at the product from the
                                   perspective of evaluating the efficacy and the safety of
                                   the product from that perspective of FibroGen. Clearly,
                                   we've already said and have demonstrated both the
                                   efficacy and the safety of the product. So, when it
                                   comes to the Phase 3 studies we are now working
                                   within each of the dialysis organizations to better assess
                                   basically this product within those specific settings,
                                   right.” Id. at 7.
67      208-   Speaker(s):         Analyst: “[A]s you get here towards the end of the            Black Box Warning      Falsity Not Pled with
                                   PDUFA, what – or how will you help investors out,                                      Particularity
        209    FibroGen,           thinking about the 2 or 3 different scenarios. One of         Safety Analysis
               Conterno            those scenarios is approval with a clean, very, very,          Statement              Opinion Statement
               (CEO)               very clean broad label. One of those scenarios is             Miscellaneous          Statement of Corporate
               Date:               approval, but maybe it looks a little more like an EPO         Statement               Optimism
                                   label and one of them could be a delay…But talk about
               November19,         those different scenarios And what are the implications                               Forward-Looking Statement
               2020                of each of those?”                                                                     (“what label will look like”)
               Occasion:           67. Conterno: “Yes. Clearly, we have a high level of                                    o No Allegations of Actual
                                   conviction on the overall submission, the strength of                                     Knowledge of Falsity
               Jefferies Virtual
               London              our data, so what I’m going to focus on is basically
               Healthcare          thinking about really the bookends of maybe what the
               Conference          label will look like. And on one hand, I think you have
                                   a label -- and I know there's a lot of focus on the box
               (Exhibit II)        warning, but our label that doesn't have a box warning.
                                   On the other hand, you have basically, on the other
                                   bookend, a label that has a box warning that looks like
                                   the EPO box warning. There are, of course, a number
                                                                              33
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 34 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                 Statement Category2          Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
                                 of scenarios in between.” Id. at 5-6.
68                               Analyst: “I’ve gotten a lot of investor questions about      Black Box Statement    Falsity Not Pled with
                                 how it may not just be as simple as black box or no                                   Particularity
                                 black box. Are you implying that if you go look at           Safety Analysis
                                 different classes, different black boxes, say different       Statement              Opinion Statement
                                 things, you could actually have comments in a black          Miscellaneous          Statement of Corporate
                                 box only on a specific indication.”                           Statement               Optimism
                                 68. Conterno: “Yes. I think we need to wait, of
                                 course, for our particular scenario. I’m not implying
                                 that we will have that, but all of those are possibilities.
                                 Clearly, I think the -- when we look at our data, we
                                 continue to feel that the data basically offers a very
                                 favorable risk-benefit profile for patients across the
                                 continuum.
                                 Now one comment on any details at this stage. But yes,
                                 I think key is going to be for us, for us to look at the
                                 entire label, if there is a box warning, and that needs to
                                 be put into the context.
                                 And what is the rest of the label also say. So we of
                                 course, as you can imagine, we think about all scenarios
                                 from a planning perspective, and now we're prepared
                                 for all scenarios and prepared to execute.” Id. at 6.
69                               69. Conterno: “So if we think about roxadustat, there        Safety Analysis        Falsity Not Pled with
                                 -- if we just take -- look at the number of patients on       Statement               Particularity
                                 dialysis, we have to start that there are a number of
                                 those patients in dialysis. Most of them are treated for                             Opinion Statement
                                 anemia, but we have about 15%, 20% of those patients                                 Statement of Corporate
                                 that are hyporesponsive, right? So where ESAs are not                                 Optimism
                                 working very well. Roxadustat will be an excellent
                                 option there, okay? What about the incident dialysis
                                 population, where we basically showed a very
                                 significant benefit when it comes to MACE and
                                 MACE+.” Id. at 7.
70      211-   Speaker(s):       70. Frost: “Cardiovascular safety of Roxadustat was          Safety Analysis        Falsity Not Pled with
        215                      also carefully evaluated, and demonstrated in the             Statement               Particularity
               FibroGen, Frost   Phase 3 program, by assessment of major adverse
               (Senior VP)       cardiovascular events (MACE) from pooled analyses of                                 No Defendant Alleged to Have

                                                                          34
                                  Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 35 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                 Statement Category2           Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                   (Falsity)3
               Date:              Phase 3 studies. In the MACE analysis ofthe DD-CKD                                    Made Statement
                                  patient pool, roxadustat demonstrated non-inferiority
               December 9,        compared to epoetin-alfa, and in the NDD- CKD pool,                                  Opinion Statement
               2020               Roxadustat demonstrated non-inferiority to placebo
               Occasion:          with respect to MACE.”
               Letter to theFDA
71             Respondingto       71. Frost: “FibroGen’s NDA submission was                   Safety Analysis         Falsity Not Pled with
               the Citizen        complete, complied with all FDA guidance, and                Statement                Particularity
               Petition           included data from all clinical and preclinical studies.
               (Exhibit KK)       The Integrated Summary of Safety cardiovascular             Miscellaneous           No Defendant Alleged to Have
                                  safety report includes the pooled cardiovascular safety      Statement                Made Statement
                                  analyses of the DD-CKD, and NDD-CKD patient                                          Opinion Statement
                                  populations. In addition, for completeness and full
                                  transparency, FibroGen includedcertain cardiovascular                                Statement of Corporate
                                  safety sensitivity analyses, including the stable dialysis                            Optimism
                                  subgroup, and the DD-CKD pool including the
                                  PYRENEES study. The results from these sensitivity
                                  analyses do not change the conclusions with respect
                                  to MACE of non- inferiority of roxadustat to epoetin-
                                  alfa in DD-CKD patients, and non-inferiority of
                                  roxadustat to placebo in NDD- CKD patients. In
                                  conclusion, FibroGen’s NDA submission was
                                  complete and transparent. The data supporting the
                                  safety and effectiveness of roxadustat is robust and
                                  compelling.” Id. at 2.

72      217,   Speaker(s):        72. Conterno: “While disappointed with the news             Efficacy Statement      Falsity Not Pled with
                                  today, FibroGen and AstraZeneca are committed to                                      Particularity
        220    FibroGen,          working with the FDA to bring Roxadustat to patients        Safety Analysis
               Conterno           with anemia of CKD in the U.S. as soon as                    Statement               Opinion Statement
               (CEO)              possible…We continue to be confident in the efficacy        Miscellaneous
                                  and safety profile of this new potential medicine based      Statement
               Date: March        on positive results from a global Phase 3 program
               1,                 encompassing more than 8,000patients.”
               2021
               Occasion:
               Press release
               announcingthat
               the FDA would
                                                                           35
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 36 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                     Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                    (Falsity)3
               hold an AdCom
               meeting
               (Exhibit LL)
73      218,   Speaker(s):       73. Eisner: “We continue to have confidence in the             Miscellaneous          Falsity Not Pled with
                                 completeness of our NDA submission, the strength of             Statement               Particularity
        220    FibroGen,         our data, and along with our partner, AstraZeneca,
               Conterno          we’re committed to working together with the FDA to                                    Opinion Statement
               (CEO),            bring Roxadustat to patients with anemia of CKD in the                                 Statement of Corporate
               Eisner            U.S.” Id. at 8.                                                                         Optimism
               (CMO)
               Date: March       “I mean, to address the specifics of your timing, yes, it's
                                 a little late in the game under -- in the review process
               1,                to get a request for an advisory committee, but the FDA
               2021              is well within its rights and regulations to request an
                                 advisory committee at any time. And we're very willing
               Occasion:         and able to have this discussion in public and present
               4Q and FY2020     our data, which, as we alluded to before, we're quite
                                 confident in.” Id. at 10.
               Earnings Call
74             (Exhibit          74. Conterno: “Clearly, I won’t be sharing what are            Safety Analysis        Falsity Not Pled with
               MM)               we planning to present and so far, but you can imagine,         Statement               Particularity
                                 the data that we have on incident dialysis, we believe,
                                 is some of our strongest data. As we think about                                       Opinion Statement
                                 MACE and MACE+ significance in that population.                                        Statement of Corporate
                                 So clearly, very, very important data.” Id. at 13.                                      Optimism
75      219-   Speaker(s):       75. Conterno: “It is not unusual for the FDA to hold           Miscellaneous          Falsity Not Pled with
        220                      an Adcom for a first-in-class new molecular entity. And         Statement               Particularity
               FibroGen,         in fact, we shared last spring that we were preparing for
               Conterno          -- very much for that possibility. So now I think for us,                              Statement of Corporate
               (CEO)             we are refocusing our efforts on resuming those                                         Optimism
                                 activities. I'm very much looking forward now to                                       Opinion Statement
               Date: March       presenting the comprehensive roxadustat data in that
               2,                public [setting]. We continue to have confidencein the
                                 completeness of the NDA submission and the strength
               2021              of the roxadustat data.” Id. at 5.
               Occasion:
76                               76. Conterno: “But at the end, I think we know that            Safety Analysis        Falsity Not Pled with
               41st Annual       an Adcom is an opportunity to basically showcase, I             Statement               Particularity
                                                                             36
                                   Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 37 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                      Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                     (Falsity)3
               Cowen               think, thestrength of our data, and we continue to have         Miscellaneous        Statement of Corporate
               Healthcare          confidence on the strength of the data of Roxadustat             Statement             Optimism
               Conference          across both DD and NDD.” Id. at 6.
                                                                                                                         Opinion Statement
               (Exhibit OO)

77                                 77. Conterno: “Honestly, I think we feel highly                 Safety Analysis      Falsity Not Pled with
                                   confident about both DD and NDD. We think that the               Statement             Particularity
                                   data, I think, supports -- the benefit risk profile.” Id. at
                                   8.                                                              Miscellaneous        Statement of Corporate
                                                                                                    Statement             Optimism
                                                                                                                         Opinion Statement


78                                 78. Conterno: “I know because we've discussed in the            Miscellaneous        Falsity Not Pled with
                                   past, and I think I've been pretty clear in terms ofwhat         Statement             Particularity
                                   has been agreed with the FDA and what hasn't been
                                   agreed with FDA. I think that's known.” Id. at 8.
79      222,   Speaker(s):         79. Conterno: “It is important to emphasize that this           Safety Analysis      Falsity Not Pled with
        227-                       does not impact our conclusion regarding the                     Statement             Particularity
               FibroGen,           comparability, with respect to cardiovascular safety,
        229    Conterno            of Roxadustat to [Epogen] in dialysis-dependent(DD)                                   Opinion Statement
               (CEO)               patients and to placebo in non-dialysis dependent
                                   (NDD) patients.”
               Date: April
80             6,                  80. Conterno: “We continue to have confidence in                Safety Analysis      Falsity Not Pled with
               2021                Roxadustat’s benefit risk profile.”                              Statement             Particularity

               Occasion:                                                                           Miscellaneous        Opinion Statement
                                                                                                    Statement
               Press release                                                                                             Statement of Corporate
               announcing that                                                                                            Optimism
               the primary
               cardiovascular
81             safety analyses     81. Press Release: “These analyses do not change the            Safety Analysis      Falsity Not Pled with
               included post-hoc   Company’s assessment that Roxadustat is comparable               Statement             Particularity
               changes to the      to placebo in non-dialysis dependent patients and to
               stratification      epoetin-alfa in dialysis dependent patients using                                     Opinion Statement
               factors.            MACE to measure cardiovascular safety.”

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                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 38 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                 Statement Category2         Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                 (Falsity)3
               (Exhibit PP)
82      223-   Speaker(s):       82. Conterno: “Our conclusion regarding the                  Safety Analysis       Falsity Not Pled with
                                 comparability with respect to cardiovascular safety of        Statement              Particularity
        229    FibroGen,         Roxadustat to epoetin-alfa in dialysis-dependent
               Conterno          patients and to placebo in nondialysis- dependent            Miscellaneous         Opinion Statement
               (CEO),            patients is not impacted. So let me be very clear. We         Statement
                                                                                                                     Statement of Corporate
               Eisner            continue to have confidence in Roxadustat's benefit                                  Optimism
               (CMO)             risk profile, and we're committed to working closely
                                 with the FDA to bring this important new treatment
               Date: April 6,    to patients living with anemia of CKD..” Id. at 4.
83             2021
                                 83. Eisner: “Importantly, these analyses do not              Safety Analysis       Falsity Not Pled with
               Occasion:         change the Company’s assessment that Roxadustat is            Statement              Particularity
                                 comparable to placebo in nondialysis- dependent
               “Business         patients and to epoetin-alfa in dialysis-dependent                                  Opinion Statement
               Update Call”      patients using MACE to measure cardiovascular
               to                safety.” Id. at 5.
               Discuss
84             Admissions        Analyst: Can you be clear whether the upper bound of         Safety Analysis       Falsity Not Pled with
                                 the confidence intervals that was pre-agreed with the         Statement              Particularity
               (Exhibit QQ)      agency was 1.25 or 1.3 for noninferiority?... Do you
                                 still believe that are you are non-inferior to Placebo in    Non-Inferiority       Opinion Statement
                                 non-dialysis setting?”                                        Margin Statement
                                 84. Conterno: “Yes, we continue to believe that in
                                 non- dialysis, we basically show comparability relative
                                 to placebo. With regards to the 1 point to any measures
                                 of excess risk, you mentioned 1.25 or 1.3, I think I said
                                 in a number of different occasions that we do not have
                                 a pre-agreed non- inferiority margin with the FDA.
                                 That has always been a – what we share as a review
                                 issue, an issue that needs to be looked at when the FDA
                                 looks at the totality of the efficacy and safety data for
                                 Roxadustat. When it comes to the NDA, we did submit
                                 a number of different analyses, including both sets of
                                 this analysis that we are sharing with you with the
                                 FDA.” Id. at 7.
85                               85. Conterno: “But clearly, our conclusions when it          Safety Analysis       Falsity Not Pled with
                                 comes, as Imentioned, to -- in NDD and DD that we're          Statement              Particularity
                                 comparable to placebo in NDD and comparable in

                                                                          38
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 39 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                  Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                 (Falsity)3
                                 DD to EPO have not changed a from a safety                                          Opinion Statement
                                 perspective. I think that's a critically important
                                 message. When it comes to incident dialysis, the
                                 numbers continueto be quite positive. But at this stage,
                                 I think for MACE, it crosses 1. So we can no longer
                                 make the conclusion that we have a statistically
                                 superior result when it comes to MACE relative to EPO
                                 in this specific population.” Id. at 8.
86                               86. Eisner: “[T]he incident dialysis point estimates         Safety Analysis       Falsity Not Pled with
                                 are still below 1. And the overall analysis are               Statement              Particularity
                                 consistent with comparable safety to placebo in the
                                 NDD population and to ESA in the dialysis-dependent          Miscellaneous         Statement of Corporate
                                 population. And overall, we feel very good about the          Statement              Optimism
                                 overall benefit-risk profile of the drug.” Id. at 9.                                Opinion Statement


87                               Analyst: “[A]s you think about the incremental               Safety Analysis       Falsity Not Pled with
                                 changes, especially to the upper ends of the confidence       Statement              Particularity
                                 interval, I guess how – what would your suggestion or
                                 what is the guidance here with regard to just thinking       Miscellaneous         Opinion Statement
                                 about the safety profile, given that the confidence           Statement
                                                                                                                     Statement of Corporate
                                 intervals now are above 1 here.”                                                     Optimism
                                 87. Eisner: “So in the incident dialysis population,
                                 you're correct that the upper bounds for MACE and
                                 MACE+ now at 1. And for the dialysis-dependent
                                 population for MACE+, that's also true. But still, the
                                 overall results are very comparable in the NDD
                                 population to -- for Roxadustat to placebo and in the
                                 DD and the incident dialysis subpopulation,
                                 comparable to ESA's in terms of cardiovascular
                                 safety. So overall, we continue to believe that the
                                 benefit risk profile of Roxadustat is favorable.” Id. at
                                 10.
88                               Analyst: “[D]o you believe that this – if you have to        Safety Analysis       Falsity Not Pled with
                                 recommunicate this to the physician population, does          Statement              Particularity
                                 this change their perception of the safety with regard to
                                 what they might want to use it in NDD population.”           Miscellaneous         Opinion Statement
                                                                                               Statement
                                 88. Eisner: “So you asked about specifically the non-                               Statement of Corporate

                                                                           39
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 40 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                   Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                  (Falsity)3
                                 dialysis dependent population and how we would                                        Optimism
                                 communicate that to the physician community. And I
                                 think we can clearly state that the results with the
                                 prespecified stratification factors continue to support
                                 comparable       cardiovascular      safety     between
                                 [R]oxadustat and placebo and a positive benefit risk
                                 profile. So although we're now presenting you this
                                 information with the prespecified stratification factors,
                                 it's a very consistent message to the one that was
                                 communicated with the post-hoc stratification factors.”
                                 Id. at 10.
89                               89. Eisner: “We believe that the prespecified -- the         Miscellaneous          Falsity Not Pled with
                                 analysis with the prespecified stratification factors is      Statement               Particularity
                                 the primary analysis, which should be emphasized
                                 when it comes to the analysis of MACE in both NDD                                    Forward-Looking Statement
                                 and DD populations. That said, it's always been the plan                              (“will likely”)
                                 to provide a variety of sensitivity analyses and different                            o Identified As Forward-
                                 approaches to look at the cardiovascular safety data                                     Looking (Ex. QQ at 4) &
                                 that's supportive. So I do think that the Advisory                                       Adequate Cautionary
                                 Committee, during the FDA's review, they will take a                                     Language (Ex. NN at 3-4, 50-
                                 totality of the evidence approach that takes a number of                                 52, 55, 68, 69)
                                 different analyses into account. At the end of the day,
                                 we do believe that the benefit/risk profile of                                        o No Allegations of Actual
                                 roxadustat is positive and that the review will likely                                   Knowledge of Falsity
                                 conclude that.” Id. at 13.                                                           Statement of Corporate
                                                                                                                       Optimism
                                                                                                                      Opinion Statement
90      230,   Speaker(s):       90. Conterno: “Importantly, this clarification does          Safety Analysis        Falsity Not Pled with
        232                      not impact our overall conclusions regarding the              Statement               Particularity
               FibroGen,         comparability with respect to cardiovascular safety of
               Conterno (CEO)    Roxadustat to epoetin alfa in dialysis-dependent                                     Opinion Statement
               Date:             patients and to placebo in non-dialysis dependent
                                 patients. As described on April 6, for the incident
                                 dialysis subgroup, based on the prespecified
               May 10,           stratification factors, roxadustat is comparable but not
               2021              superior to epoetin alfa with regards to cardiovascular
                                 safety.”
               Occasion:Q1
91                               91.   Conterno: “I want to reiterate thatwe continue to      Miscellaneous          Falsity Not Pled with
                                                                            40
                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 41 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                 Statement Category2           Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                   (Falsity)3

               2021              have confidence in the Roxadustat data and in the            Statement                Particularity
                                 safety and efficacy profile demonstrated in the Phase
               Earnings Call     3 program.” Id. at 5.                                       Safety Analysis         Opinion Statement
                                                                                              Statement
               (Exhibit RR)                                                                                           Statement of Corporate
                                                                                                                       Optimism
92      231-   Speaker(s):       92. Conterno: And just to remind everyone, I think          Safety Analysis         Falsity Not Pled with
                                 when we look at Roxadustat, we view it as comparable         Statement                Particularity
        232    FibroGen,         on both dialysis dependent and non-dialysis
               Conterno          dependent comparable to ESAs on dialysis dependent                                   Opinion Statement
               (CEO)             onto placebo on non-dialysis dependent. And we have                                  Statement of Corporate
                                 now, I think, the opportunity to -- so patients are                                   Optimism
               Date: May         starting those treatment with dialysis to be able to treat
               13,               anemia. And we think that Roxadustat can be an ideal
                                 choice there given the strength of our data, in
               2021              particular inincident dialysis.” Id. at 5.
               Occasion:
93                               93. Conterno: “So I think it's -- at the end of the day,    Safety Analysis         Falsity Not Pled with
               Bank of           I think the world post TDAPA would be governed by
               America Annual                                                                 Statement                Particularity
                                 how well did roxadustat perform within the 2-year
               Healthcare        period as assessed by CMS. I'm quite confident on           Efficacy Statement      Opinion Statement
               Conference        what Roxadustat can deliver.                                Miscellaneous           Statement of Corporate
               (Exhibit SS)      ...                                                          Statement                Optimism
                                 And the -- when we look at our data, we have a number                                Forward-Looking Statement
                                 of different trials, both in DD and NDD. And then we                                  (“can deliver”; “we will have a
                                 need to look at the overall cardiovascular profile. And                               good showing”)
                                 as I mentioned, we see our profile being, when it comes                               o No Allegations of Actual
                                 to MACE, noninferior to ESAs on DD and non-                                               Knowledge of Falsity
                                 inferior comparable to placebo on NDD.
                                 ...
                                 “at this point in time, of course, the FDA will look at
                                 the primary analysis, but I’m sure we will also do a
                                 number of additional sensitivity analysis and we – that
                                 I’m sure will be discussed. Those sensitivity analysis,
                                 in some cases, look – make the product – or hazard
                                 ratios lower, in some cases, higher. But all in all, I
                                 think, it should help understand, I think, the overall
                                 profile of the product better. And I’m optimistic about
                                 – given our preparation that we will have a good

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                                 Case 3:21-cv-02623-EMC Document 107-1 Filed 01/14/22 Page 42 of 42

Stat.   CC     Speaker, Date, and Alleged False and Misleading Statements1                 Statement Category2        Reason Not Actionable
#(s)               Occasion
        ¶¶’s                                                                                                                (Falsity)3
                                 showing.” Id. at 10.
94      233,   Speaker(s):       94. Conterno: “Keep in mind, I think what -- and I           Safety Analysis      Falsity Not Pled with
                                 think it's important that I highlight that Roxadustat         Statement             Particularity
        235    FibroGen,         has shown comparability when it comes to both
               Conterno          placebo in NDD and relative to EPO in DD.” Id. at 4.                               Opinion Statement
               (CEO)
               Date:
95                               95. Conterno: “And while we are -- when we look at           Safety Analysis      Falsity Not Pled with
               June 4, 2021      the hazard ratio of – in incident dialysis, well, it is not   Statement             Particularity
               Occasion:         below – while the upper bound is not below 1, the
                                 hazard ratio, the estimate is still below 1, and it looks                          Opinion Statement
               Jefferies         very, very positive.” Id. at 4.
               Healthcare
               Conference
               (Exhibit TT)

96      234-   Speaker(s):       96. Conterno: “Yes. I think what the data -- what the        Safety Analysis      Falsity Not Pled with
                                 data shows is -- what the analogy shows is basically the      Statement             Particularity
        235    FibroGen,         Roxadustat is comparable to ESAs to EPO in the DD
               Conterno          setting and comparable to placebo in the NDD                                       Opinion Statement
               (CEO)             setting.” Id. at 7.
               Date: June
               10,
               2021
               Occasion:
               Goldman Sachs
               42ndAnnual
               Global
               Healthcare
               Conference
               (Exhibit UU)




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